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                             G                                          ED
                                                                        "T COUR T

                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA,
                         STATESBORO DIVISIO N

LYNETTE TANKERSLEY EDEN ,

       Plaintiff ,

vs .

CITIFINANCIAL AUTO,
LTD .,

       Defendant .


                      Motion For Summary Judgmen t

           The plaintiff moves for summary judgment on her claim

for violation of the Uniform Commercial Code, on her claim for

violation of the Motor Vehicle Sales Finance Act, and on the de-

fendant's counterclaim .

           The basis of the claim under the Uniform Commercial

Code is that the defendant did not give the plaintiff the post-

repossession notices required by that legislation, so the plain-

tiff is entitled to statutory damages .

           The basis of the claim under the Motor Vehicle Sales

Finance Act is that the defendant did not give the plaintiff the

post-repossession notices required by that legislation, so she

is entitled to statutory damages .

           The basis of the defense to the counterclaim is that

the failure to provide the Motor Vehicle Sales Finance Act not-
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ices is an absolute bar to the recovery of a deficiency .




                                           C
                                          CHARLES BRANNON
                                          ATTORNEY FOR PLAINTIFF
                                            LYNETTE TANKERSLEY EDE N




103 Valley Road, #31
Statesboro , Georgia 30458-4759
912-489-6830
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA,
                         STATESBORO DIVISIO N

LYNETTE TANKERSLEY EDEN,
                                    }
     Plaintiff,
                                    }
vs .        )      Case                   No . CV605-04 3

CITIFINANCIAL AUTO,
LTD .,

     Defendant .


                Statement Of Undisputed Material Facts

                                    1 .

            The defendant financed the purchase of a car in Georgia

by Ms . Eden . (CITI 0018 and CITI 0019, attached )

                                    2 .

            The cash price for the car was $12,788 .63 . (CITI 0018 ,

attached)

                                    3 .

            The time price differential" between the cash pric e

and the amount actually to be repaid under the loan was

$4164 .59 . (CITI 0018, attached)

                                    4.

            The defendant repossessed the car in Georgia on Decem-

ber 3, 2003 after default . (Affidavit, attached )

                                    5.

            The defendant thereafter did not notify Ms . Eden of the

method of intended disposition, that she was entitled to an ac-

counting of the unpaid indebtedness, of the time and place of           a



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       Case 6:05-cv-00043-BAE Document 28 Filed 11/23/05 Page 4 of 18




public disposition nor the time after which any other disposi-

tion was to be made, of a description of any liability of her

for a deficiency, of a telephone number from which the amount

that must be paid to redeem the collateral was available, nor of

a telephone number nor a mailing address from which additional

information concerning the disposition and the obligation sec-

ured was available . (Affidavit, attached )

                                    6 .

           The defendant did not within ten days of repossession,

nor at any other time, forward to Ms . Eden by certified nor reg-

istered mail nor "statutory overnight delivery" notice of its

intention to pursue a deficiency claim against her, of her

rights of redemption, nor of her right to demand a public sale

of the repossessed car . (Affidavit, attached )

                                    7 .

           The defendant disposed of the car by private sale and

pursued a deficiency claim against Ms . Eden . (Counterclaim,

Doc . 3)




                                              C42~_~ 441,~t~ ~
                                            CHARLES BRANNON
                                            ATTORNEY FOR PLAINTIFF
                                              LYNETTE TANKERSLEY EDEN
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA,
                                 STATESBORO DIVISIO N

LYNETTE TANKERSLEY EDEN ,

            Plaintiff,                     }
                                           }
vs .                                             Case No . CV605-04 3

CITIFINANCIAL AUTO,
LTD .,

            Defendant .                    }




                Brief In Support of Motion For Summary Judgmen t



  1.        Uniform Commercial Cod e


       A.     THE DEFENDANT VIOLATED THE UNIFORM COMMERCIAL CODE .

                  The Uniform Commercial Code requires a repossessin g

  creditor to notify a borrower of certain of her rights before

 disposing of collateral .

                  "After default, a secured party may sell         .    .   . the

  collateral        .   .   ." OFFICIAL CODE OF GA . ANN . §11-9-610(a) .

                  A "secured party that .disposes of collateral unde r

 Code Section 11-9-610 shall send to the persons specified in

  subsection (c) of this Code section a reasonable authenticated

 notice of disposition ." OFFICIAL CODE OF GA . ANN .

 §1179-611 (b) .

                  "To comply with subsection (b) of this Code section,

  the secured party shall send an authenticated notification of

 disposition to [t]he debtor OFFICIAL CODE OF GA . ANN .



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§11-9-611 (c) .

     The contents of a notification of disposition are
     sufficient if the notification :

      (A) Describes the debtor and the secured party ;

      (B) Describes the collateral that is the subject
      of the intended disposition ;

      (C) States the method of intended disposition ;

      (D) States that the debtor is entitled to an ac-
      counting of the unpaid indebtedness and states
      the charge, if any, for an accounting ; and

      (E) States the time and place of a public dispos-
      ition or the time after which any other disposi-
      tion is to be made . . .

OFFICIAL CODE OF GA .   ANN . §11-9 -613(1) .

      In a consumer goods transaction, the following
      rules apply :

      (1) A notification of disposition must provide
      the following information :

      (A) The information specified in paragraph (1) of
      Code Section 11-9-613 ;

      (B) A description of any liability for a defic
      iency of the person to which the notification is
      sent ;

      (C) A telephone number from which the amount that
      must be paid to the secured party to redeem the
      collateral under Code Section 11-9-623 is avail-
      able ; an d

      (D) A telephone number or mailing address from
      which additional information concerning the dis-
      position and the obligation secured is availa-
      ble . . .

OFFICIAL CODE OF GA . ANN . .§ 11-9-614 .

           A passenger vehicle is a consumer good .      Ogletree vs .



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Brokers South, Inc . , 192 Ga . App . 53, 383 S .E . 2d 900 (1989) ;

Georgia Central Credit Union vs . Coleman , 155 Ga . App . 547,

550, 551, 271 S .E . 2d 681, 684 (1980) ("[T]he security agree-

ment covering the 1972 automobile      .   .    . could only authorize a

finding that the collateral is consumer goods ." )

           The defendant did not give post-repossession notifica-

tion, so Ms . Eden is owed statutory damages .



B.   THE DAMAGES ARE STATUTORY .


      If the collateral is consumer goods, a person that
      was a debtor . . . . at the time a secured party
      failed to comply with this part may recover for
      that failure in any event an amount not less than
      the credit service charge plus 10 percent of the
      principal amount of the obligation or the time
      price differential plus 10 percent of the cash
      price .

OFFICIAL CODE OF GA . ANN . §11-9-625(c)(2) .

           Failure to give post-repossession notification en-

titles a borrower to these damages .           Ogletree vs . Brokers

South,   Inc ., 192 Ga . App . 53, 383 S .E . 2d 900 (1989) .

           The "time price differential" is $4164 .59 . Ten per

cent of the cash price is $1278 .86 .

           The defendant owes Ms . Eden $5443 .45 for its Uniform

Commercial Code violation .
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II .   Motor Vehicle Sales Finance Ac t


A.     THE DEFENDANT ALSO VIOLATED THE MOTOR VEHICLE SALES FIN-
       ANCE ACT .

            The Motor Vehicle Sales Finance Act requires a repos-

sessing creditor in Georgia to notify a borrower of certain

other of her rights after repossession of a car .

        When any motor vehicle has been repossessed after def-
        ault in accordance with Part 5 of Article 9 of Title
        11, the seller or holder shall not be entitled to re-
        cover a deficiency against the buyer unless within ten
        days after the repossession he forwards by registered
        or certified mail or statutory overnight delivery to
        the address of the buyer shown on the contract or lat-
        er designated by the buyer a notice of the seller's or
        holder's intention to pursue a deficiency claim ag-
        ainst the buyer . The notice shall also advise the
        buyer of his rights of redemption, as well as his
        right to demand a public sale of the repossessed motor
        vehicle .

OFFICIAL CODE OF GA . ANN . §10-1-36 .

            The defendant did not give this notification either,

so Ms . Eden is entitled to additional statutory damages .


B.     THESE DAMAGES ARE ALSO COMPUTED BY A STATUTORY FORMULA .

        In case of a willful violation of this article with
        respect to any transaction, the buyer in such transac-
        tion may recover from the person committing the viol-
        ation . . . a minimum of $100 .00 or double the time
        price differential and any delinquency charge and any
        attorneys' fees and court costs charged and paid with
        respect to such transaction, but the seller may recov-
        er from the buyer an amount equal to the cash price of
        the goods or servies in such transaction . . .

OFFICIAL CODE OF GA . ANN . §10-1-38(c) .

            The defendant did not notify Ms . Eden that it intende d



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to pursue a deficiency, so the set-off provision does not ap

ly . OFFICIAL CODE OF GA . ANN . § 1 0-1-36 .

        The "time price differential" is $4164 .59 . The defendant

owes Ms . Eden double that, $8329 .18, for violation of the Motor

Vehicle Sales Finance Act .



III .    The Counterclai m

            The defendant did not notify Ms . Eden that it intended

to pursue a deficiency, so "it shall not be entitled to recover

a deficiency against the buyer        .   .   ." OFFICIAL CODE OF GA .

ANN .   §10-1-36 .

            Ms . Eden gave the defendant a security interest in a

car . The defendant repossessed and resold the car . After the

repossession and the resale, there was a deficiency . These

facts activate that provision of the Motor Vehicle Sales Fin-

ance Act which imposes a condition precedent prior to the pros-

ecution of an action for a deficiency . The defendant did not

give Ms . Eden the mandatory notice of its intent to pursue a

deficiency, so it loses the counterclaim . In order to make out

even a prima facie case, it has to prove the occurrence of this

condition precedent contained in the statute .

            The statute seems clear . The appellate decisions con-

firm a clear reading of the statute :

            The clearest statement that the statute should be ap-

plied just as written is the opinion where the Georgia Court o f



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Appeal s

      held that secured party's failure to comply with not-
      ice requirement barred recovery of deficiency judg-
      ment . . . [T]he provisions of OCGA §10-1-36 are
      subject to but one construction . . . OCGA §10-1-36
      does specifically provide that a lack of notice bars
      a recovery of a deficiency judgment . OCGA §10-1-36,
      according to its terms,  is cumulative of Part 5 of
      Article 9 of Title 11 [the Uniform Commercial Code]
      and provides cumulative additional rights and remedies
      which must be fulfilled before any deficiency claim
      will lie against a buyer . . . "

Bryant International, Inc . vs . Crane , 188 Ga . App . 736, 374

S .E . 2d 228, 229 (1988) (emphasis original) .

           The trial court granted summary judgment to the bor-

rower on this basis . The Court of Appeals affirmed . Accord,

Rowe Chevrolet vs . Walls , 201 Ga . App . 822, 412 S .E . 2d 603

(1991) ;   Sikes & Swanson Pontiac-G .M .C . Truck, Inc . vs . Can-

trell , 194 Ga . App . 818, 392 S .E . 2d 36 (1990) ;      Whatley vs .

Bank South Corp . , 185 Ga . App . 896, 366 S .E . 2d 182 (1988) ;

Doughty vs . Associates Commercial Corp . , 152 Ga . App . 575, 263

S .E . 2d 493 (1979.) ;   In re : Chambliss , 315 B .R . 166 (Bankr .

S .D . Ga . 2004) ;   In re : Dyches , 287 B .R . 298 (Bankr . S .D . Ga .

2002) .

      This is "an absolute bar" .        Bryant International,     Inc . vs .

Crane , 188 Ga . App . 736, 374 S .E . 2d 228, 229 (1988) . I find

no exception whatever in any of the appellate decisions in

Georgia, nothing that suggests or hints at an exception . Noth-

ing allows the lender to circumvent the notice requirement .

      The lender's compliance with the notice requirement in th e



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Motor Vehicle Sales Finance Act is "a condition precedent to

recovery",     Doughty vs . Associates Commercial Corp .,     152 Ga .

App . 575, 263 S .E . 2d 493 (1979), so the burden of proof is on

the lender .

       When the lender neglects to forward notice, the bar is ap-

plied summarily . In Bryant International, Inc . vs . Crane, 188

Ga . App . 736, 374 S .E . 2d 228 (1988) and again in Sikes & Swan-

son Pontiac-G .M .C . Truck, Inc . , 194 Ga . App . 818, 392 S .E . 2d

36 (1990), the Georgia Court of Appeals affirmed the trial

court's grant of summary judgment to the borrower . In Whatley

vs . Bank South Corp . , 185 Ga . App . 896, 366 S .E . 2d 182 (1988),

the Georgia Court of Appeals affirmed the trial court's grant

of directed verdict to the borrower . In In re : Dyches , 287

B .R . 298 (Bankr . S .D . Ga . 2002) the bankruptcy court disallowed

the deficiency claim in response to a motion and in           In re :

Lease Purchase Corp . , WL 16005421 (Bankr . S .D . Ga . 1994), sum-

marily in a pretrial order .



IV .   Conclusio n

       The defendant violated the Uniform Commercial Code, so Ms .

Eden is entitled to judgment for $5443 .45 .

       The defendant violated the Motor Vehicle Sales Finance

Act, so Ms . Eden is entitled to judgment for $8329 .18 .
    Case 6:05-cv-00043-BAE Document 28 Filed 11/23/05 Page 12 of 18




         The defendant did not give Ms . Eden notice of its in-

tent to pursue a deficiency,    so Ms . Eden is entitled to judg-

ment on the defendant's counterclaim .




                                         CHARLES BRANNON
                                         ATTORNEY FOR PLAINTIF F
                                            LYNETTE TANKERSLEY EDE N




103 Valley Road, #31
Statesboro, Georgia 30458-4759
912-489-6830
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA,
                          STATESBORO DIVISIO N

LYNETTE TANKERSLEY EDEN,

        Plaintiff ,

vs .         )        Case                  No . CV605-04 3

CITIFINANCIAL AUTO,
LTD .,

        Defendant .



                  Affidavit Of Lynette Tankersley Ede n

             Lynette Tankersley Eden appeared before the under-

signed notary public, who knows and can identify her, was sworn

under oath to speak the truth and gave the following testimony :

                                      1 .

             I am of legal age and otherwise competent to testif y

in a court of law and testify entirely of my own personal know-

ledge .

                                      2.

             I am the plaintiff in this civil action .

                                      3.

             On March 7, 2002,    my son Ramsey H . Eden and I bought a

car .

                                      4.

             Arcadia Financial, Ltd . financed the purchase .




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                                   5.

            The attached document, marked "CITI 0018" and "CIT I

0019", is the contract for the purchase of the car and for the

loan .

                                   6.

            I am informed that Arcadia Financial, Ltd . repossesse d

the car from my son ' s possession on December 3, 2003 .

                                   7.

            I did not receive correspondence from Arcadia Finan-

cial, Ltd .   nor Citifinancial Auto, Ltd ., whether by certified

mail ,   overnight delivery nor otherwise , mailed within ten days

of December 3, 2003 .

                                   8.

            I have never received correspondence from Arcadia Fin-

cial, Ltd . nor Citifinancial Auto, Ltd . by certified mail nor

overnight delivery .

                                   9.

            I did- not receive correspondence of any kind from Ar-

cadia Financial, Ltd . nor Citifinancial Auto, Ltd . for at least

three months after December 3, 2003 .

                                   10 .

            Neither Arcadia Financial, Ltd . nor Citifinancial

Auto, Ltd . informed me that I was entitled to an accounting of

the debt, that it intended to sell the car, of the method by

which it intended to sell the car, of the time after which th e



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sale was to be made, that I had the right to demand a public

sale of the car, that I had the right to redeem the .car, of a

telephone number from which I could have learned the amount to

be paid to redeem the car nor of either a telephone number or a

mailing address from which additional information was availa-

ble .

                                      11 .

              Neither Arcadia Financial, Ltd . nor Citifinancia l

Auto, Ltd . informed me that it intended to pursue a deficiency

on the loan and the repossession until I received a letter from

Arcadia Financial, Ltd . dated March 24, 2004 .




                                                   ETTE TANKERSLEY rfEN

              Sworn to and subscribed before me this 2Lt day of

November, 2005 .




                                               CHARLES BRANNON
                                               Notary Publi c
                                               Bulloch County, Georgia
                                               My commission expires
                                               August 24, 2008 .
                                 Case 6:05-cv-00043-BAE Document 28 Filed 11/23/05 Page 16 of 18
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA,
                        STATESBORO DIVISION

LYNETTE TANKERSLEY EDEN,

     Plaintiff,                    }

vs .      )        Case                No . CV605-04 3

CITIFINANCIAL AUTO,
LTD .,

     Defendant .



                       CERTIFICATE OF SERVIC E


     I, Charles W . Brannon, Jr ., do hereby certify that I have

this day served the defendant Citifinancial Auto, Ltd . in this

matter with a copy of the attached by placing it with the United

States Postal Service with adequate first class postage thereon

and addressed as follows :

Mr . William Loeffler
Troutman, Sanders, L .L .P .
Suite 520 0
Bank of America Plaz a
600 Peachtree Street, N .E .
Atlanta, Georgia 30308-227 6



This day of /40-u .            , 2005 .



                                            ozlzik~
                                          Charles W . Brannon, Jr .
                                          Attorney for plaintiff
                                            Lynette Tankersley Eden
